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 1 Dina L. Santos, SBN 204200
   A Professional Law Corp.
 2 428 J Street, Suite 359
   Sacramento, CA 95814
 3 Telephone: (916) 447-0160
   Facsimile: (916) 447-2988
 4

 5 Attorney for:
   WALDO PEREZ MENDOZA
 6

 7                                 IN THE UNITED STATES DISTRICT COURT

 8                                    EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                            CASE NO. 11-CRS-076 LKK

11                                   Plaintiff,           STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
12                            v.                          FINDINGS AND ORDER TO CONTINUE CASE
                                                          TO 1/21/14
13   WALDO PEREZ MENDOZA,
                        Defendant.
14

15                                                  STIPULATION
16          Plaintiff United States of America, by and through its counsel of record, and defendant Waldo

17 Perez Mendoza, by and through his counsel of record, hereby stipulate as follows:

18          1.      By previous order, this matter was set for status on December 17, 2013.

19          2.      By this stipulation, defendant now moves to continue the status conference until January

20 21, 2014, and to exclude the time period from between the date of this stipulation, December 13, 2013,

21 to, and including, January 21, 2014, from computation of time within which the trial of this case must be

22 commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) Local Code

23 T4. Plaintiff does not oppose this request.

24          3.      The parties agree and stipulate, and request that the Court shall find and order the

25 following:

26                  a)       Counsel for defendant desires additional time to consult with her client, continue

27          to review the discovery, conduct investigation, explore a possible legal conflict that defense

28          counsel may have in representing defendant, and to otherwise prepare for trial.

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 1                   b)       Counsel for defendant believes that failure to grant the above-requested

 2           continuance would deny defense counsel the reasonable time necessary for effective preparation,

 3           taking into account the exercise of due diligence.

 4                   c)       The government does not object to the continuance.

 5                   d)       Based on the above-stated findings, the ends of justice served by continuing the

 6           case as requested outweigh the best interests of the public and the defendant in a speedy trial.

 7                   e)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 8           et seq., within which trial must commence, the time period beginning from the date of this

 9           stipulation, December 13, 2013, to, and including, January 21, 2014, inclusive, is deemed

10           excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it results from

11           a continuance granted by the Court at defendant’s request on the basis of the Court’s finding that

12           the ends of justice served by taking such action outweigh the best interests of the public and the

13           defendant in a speedy trial.

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 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4

 5          IT IS SO STIPULATED.

 6 Dated: December 13, 2013                                     BENJAMIN B. WAGNER
                                                                United States Attorney
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 8                                                              /s/ Samuel Wong
                                                                SAMUEL WONG
 9                                                              Assistant United States Attorney

10
     Dated: December 13, 2013                                   /s/ Dina L. Santos
11                                                              DINA SANTOS, ESQ.
                                                                Attorney for Waldo Perez Mendoza
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                                                          ORDER
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            IT IS SO FOUND AND ORDERED this 17th day of December, 2013
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      Stip. & Order Continuing Status Conf. & Excluding     3
      Time Periods Under Speedy Trial Act
